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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

In re:
                                                                    CASE NO.: 21-14668-LMI
                                                                    CHAPTER: 13
Norton Alejandro Ruiz



Debtor.                                /

         NOTICE OF COMPLIANCE BY ATTORNEY FOR DEBTOR WITH LOCAL
                     RULE 2083-1(B) CLAIMS REVIEW REQUIREMENT
         The undersigned attorney for Debtor certifies that a review of the claims register and all
claims filed in the above referenced case has been completed in accordance with Local Rule
2083-1(B) and that:
1)   ◼ No further action is necessary.
2)   The following actions have been taken:
     ☐ The debtor has filed an objection to proof of claim                            .
     ☐ The debtor has filed an                 plan to provide for the proof of claim
          filed by             .
     ☐ Other:________________.
     A copy of this Notice of Compliance was served on the Chapter 13 Trustee via the NEC
and the Debtor via U.S. Mail on December 20, 2021.


                                                          Respectfully submitted,
                                                          Law Offices of Patrick L. Cordero, P.A.
                                                          Attorney for Debtor
                                                          7333 Coral Way
                                                          Miami, Florida 33155
                                                          Tel: (305) 445-4855

                                                             /s/ (FILED ECF)
                                                          Miriam Marenco, Esq.
                                                          FL Bar No. 86115



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                                                                                             *7/22/2021
                                                                                            **11/9/2021
